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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MARTA BUENO,

                          Plaintiff,                                          Civ. No. 1:21-cv-00535-JGK

        -against-                                                            JOINT REPORT PURSUANT
                                                                                 TO FRCP 26(f) AND
                                                                              [PROPOSED] CIVIL CASE
EUROSTARS HOTEL COMPANY, S.L., FRONT                                         MANAGEMENT PLAN AND
PROPERTY HOTEL CORPORATION, AMANCIO                                             SCHEDULING ORDER
LOPEZ SEIJAS and CRISTINA MARROQUI, jointly
and severally,

                           Defendants.
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        JOHN G. KOELTL, District Judge:

        1.       This case is to be tried to a jury.

       2.     The parties have engaged in settlement discussions, including by participating in
the Court’s mediation program, which did not result in the settlement of the case.

        3.    The parties consent to service by email as service “by other electronic means that
the person consented to in writing,” pursuant to FRCP 5(b)(2)(E).

        4.    The parties have served responses pursuant to the Pilot Discovery Protocols for
Employment Cases Alleging Adverse Action (the “Discovery Protocols”). The parties’
obligations to serve initial disclosures pursuant to FRCP 26(a)(1) were superseded by the
Discovery Protocols. To the extent either party wishes to make initial disclosures pursuant to
FRCP 26(a)(1) they shall be served on or before Wednesday, June 29, 2022.

        5.     The parties shall meet and confer regarding “any issues about disclosure, discovery,
or preservation of electronically stored information, including the form or forms in which it should
be produced,” pursuant to FRCP 26(f)(3)(C), on or before Wednesday, June 29, 2022.

        6.     Except for good cause shown, no additional parties may be joined or causes of
action asserted after Wednesday, July 20, 2022.

        7.     The parties did not agree on a deadline for additional defenses to be asserted.
Plaintiff proposed that “except for good cause shown, no additional defenses may be asserted after
Wednesday, August 7, 2022,” which was rejected by Defendants.




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       8.      Except for good cause shown, all discovery, including expert discovery and service
of discovery responses, shall be commenced in time to be completed, on or before Wednesday,
May 30, 2023, subject to the following additional requirements:

               a.     Initial requests for the production of documents shall be served on or before
                      Wednesday, July 13, 2022, and responses thereto shall be served within 30
                      days.

               b.     Initial interrogatories shall be served on or before Wednesday, July 13,
                      2022, and responses thereto shall be served within 30 days.

               c.     Depositions of parties shall be completed on or before Tuesday, November
                      15, 2022.

               d.     Depositions of non-parties shall be completed on or before Tuesday,
                      January 31, 2023.

               e.     The expert disclosures required by FRCP 26(a)(2) shall be completed on or
                      before Thursdays, March 30, 2023.

               f.     All expert discovery, including depositions, shall be completed on or before
                      Tuesday, May 30, 2023.

        9.      The parties did not agree on whether Plaintiff shall submit to an Independent
Medical Examination in this case. Defendants proposed that “[o]n or before September 1, 2022,
plaintiff shall submit to an Independent Medical Examination by a licensed mental health
professional,” which was rejected by Plaintiff.

       10.     Plaintiff has no objection to producing medical records from the time period from
January 1, 2020 to February 29, 2020 from her medical providers in Spain who provided
reproductive assistance treatment to her.

       11.    The Magistrate Judge assigned in this case shall resolve discovery disputes and hear
“good cause” requests for the extension of the discovery deadlines set forth above in this Order.

        12.    Dispositive Motions: Dispositive motions, if any, are to be fully briefed and the
required courtesy copies submitted to the Court within thirty-five (35) days after the close of all
discovery. The parties are advised to comply with the Court’s Individual Practices II(B)-(D) and
II(F)-(H). The moving party is responsible for submitting the required courtesy copies of the fully
briefed motion. In the event of dispositive cross-motions, the Defendants shall be responsible for
submitting the required courtesy copies of the fully briefed motions.

       13.     Joint Pretrial Order / Motions in Limine:

               a.     A joint pretrial order, together with motions in limine, if any, along with
                      requests to charge and voir dire requests shall be submitted to the Court

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                          within sixty-five (65) days after the close of all discovery, unless a
                          dispositive motion(s) was (were) filed, in which case within thirty (30) days
                          following a decision on any dispositive motion(s).

                 b.       The pretrial order shall confirm to the Court’s Form Joint Pretrial Order, a
                          copy           of          which           is          available          at
                          https://www.nysd.uscourts.gov/sites/default/files/practice_documents/cmF
                          ormOfPretrialOrderAnnexA.pdf . The parties are advised to comply with
                          the Court’s Individual Practice IV(A).

       14.     The caption of this action is hereby amended in accordance with the Memorandum
Opinion and Order of the Court dated January 7, 2022 and entered on January 10, 2022. The new
caption shall be as follows:

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MARTA BUENO,

                          Plaintiff,

-against-                                                                    Civ. No. 1:21-cv-00535-JGK

EUROSTARS HOTEL COMPANY, S.L., FRONT
PROPERTY HOTEL CORPORATION and AMANCIO
LOPEZ SEIJAS, jointly and severally,

                           Defendants.
-------------------------------------------------------------------------x

Respectfully submitted,


For the Plaintiff                                             For the Defendants

CHICKEDANTZ LAW                                               DUNNING RIEVMAN LLP


/s/ Maria L. Chickedantz, Esq.                                /s/ Brian C. Dunning, Esq.
________________________________                              ________________________________
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SO ORDERED.

Dated:          New York, New York
                June ___, 2022                 ______________________________
                                               John G. Koeltl
                                               United States District Judge




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